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                                    UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF MISSISSIPPI
                                        GREENVILLE DIVISION

EDWARD DALON, SURVIVING SPOUSE
AND ADMINISTRATOR OF THE ESTATE OF
JUDY L. DALON, DECEASED                                                             PLAINTIFF

v.                                              CIVIL ACTION NO. 4:15-cv-00086-DMB-JMV

RULEVILLE NURSING AND
REHABILITATION CENTER, LLC                                                        DEFENDANT

                                  JOINT STIPULATION OF DISMISSAL


       Plaintiff Edward Dalon Surviving Spouse and Administrator of the Estate of Judy L. Dalon, Deceased,

and Defendant Ruleville Nursing and Rehabilitation Center, LLC submit this Joint Stipulation of Dismissal

pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure.

       The parties have agreed to submit all of their claims in this matter to binding arbitration. Accordingly,

all claims asserted in this matter against Ruleville Nursing and Rehabilitation Center, LLC are dismissed

without prejudice. Each party shall bear their own costs. The Court retains jurisdiction to enforce the decision

of the arbitrator or enforce any settlement reached between the parties.

       This the 26th day of April, 2016.

STIPULATED:

 s/ David E. Goodman Jr.                             s/ Clay Gunn
David E. Goodman, Jr.                                Bradley W. Smith (MB No. 9834)
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